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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



JANSSEN BIOTECH, INC.,

                              Plaintiff,
                                                          Civil Action No. l:17-cv-11008-MLW
                      v.
                                                                  CONFIDENTIAL -
CELLTRION HEALTHCARE CO., LTD.,                                  FILED UNDER SEAL
CELLTRION, INC., and
HOSPIRA, INC.,

                              Defendants.


                                           JOINT REPORT

        Pursuant to the Court’s Order of June 21, 2017 (No. 15-10698 Dkt. 574), the parties

jointly submit this report regarding: (a) their respective positions on whether discovery regarding

damages should be stayed until the Defendants’ motion to dismiss the 2017 action is decided;

and (b) their respective proposed pretrial schedules and trial dates. As noted below, a report on

the status of the parties’ resumed settlement discussions has been submitted separately, under

seal.

        A.     Whether Discovery Regarding Damages Should Be Stayed Until the
               Defendants’ Motion to Dismiss the 2017 Action Is Decided

               1.     Defendants’ Position Is That Discovery Should Be Stayed1

        Defendants continue to believe that discovery on damages should remain stayed until the

Court decides Defendants’ motion to dismiss, for at least three reasons.




1
  As of Thursday, August 17, 2017, the parties planned to exchange their respective sections of
the joint report on Monday, August 21st. On the morning of August 21st, Janssen indicated that
it no longer wished to exchange position statements in advance of the joint filing.
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       First, as explained more fully in Defendants’ briefing, their motion to dismiss is

meritorious.   Janssen has been changing positions on standing since January, necessitating

multiple rounds of briefing, only to finally capitulate and dismiss both its 2015 and 2016

complaints. See No. 15-10698 Dkt. 584. Janssen originally claimed that “COMPANY” in the

employment agreements, “correctly construed,” meant “any company to which I become

transferred while I’m employed,” such that the agreement “travel[s] with the employee if he or

she is transferred to another J&J company,” despite acknowledging that the form agreement

“doesn’t literally say that.” 2/8/17 Hr’g Tr. at 47:15–23. But discovery (which Janssen opposed)

revealed that Janssen’s parent and sister companies have repeatedly interpreted “COMPANY” in

the same or similar agreements much more broadly, as including more than a person’s

employer(s)—even telling one court that “plaintiffs” J&J and Cordis “own all inventions” an

employee developed, pursuant to his employment agreement. Dkt. 14 at 7–8. Faced with this

problem, Janssen now leaves the law of contract interpretation and common sense even further

behind, arguing that “COMPANY” means whatever J&J or any of its family companies say it

means, which may depend not only on “the facts of a given case,” but also on what may have

happened since the signing of a particular contract or “on the terms of the particular contract

provision at issue” to which the term “COMPANY” would apply. Dkt. 26 at 6.

       To be clear, Janssen asks this Court to rule that a defined term in a form agreement,

which expressly applies “[a]s used in this Agreement,” means whatever Janssen or J&J or any

other enforcing company deems to be “applicable” in any particular circumstance. Id. Janssen’s

position runs contrary to the most fundamental concept of contract law, namely the “essential

characteristic” of a contract that the “obligations be specifically described in order to enable a

court or a trier of fact to ascertain what it was the promisor undertook to do.” Malaker Corp.




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Stockholders Protective Comm. v. First Jersey Nat. Bank, 163 N.J. Super. 463, 474 (N.J. Super.

Ct. App. Div. 1978). Indeed, Janssen’s proposed non-definition of “COMPANY” would render

J&J’s form agreement unenforceable, putting at risk all of the J&J family’s proprietary assets,

including patents and confidential information. Id. at 474 (“An agreement so deficient in the

specification of its essential terms that the performance by each party cannot be ascertained with

reasonable certainty is not a contract, and clearly is not an enforceable one.”).            Janssen’s

approach cannot be the correct interpretation of the agreements. “[D]oubt or difference”—the

consequences of Janssen’s non-definition—are “incompatible with agreement.” Borough of W.

Caldwell v. Borough of Caldwell, 26 N.J. 9, 25 (1958).

       Yet simultaneously—and conveniently—Janssen argues that, with respect to Paragraph 1

of the agreements regarding assignment of inventions, inventions are always “unmistakably

assigned to the J&J company employing the inventor.” Id. at 8. The plain language of the

agreements say no such thing. And achieving this result, such as by substituting “EMPLOYER”

for “COMPANY” as J&J did in its more recent version of the employment agreements (Dkt. 14

at 10) would have been simple, but was not the choice the drafter made.

       Janssen complains about negative consequences its chosen contract language purportedly

would have                                                                         or undergo reissue

proceedings at the U.S. Patent Office (which it has not done). But New Jersey law is clear that

the court “cannot make … a better or more sensible contract than the one [drafters] made for

themselves.” Kotkin v. Aronson, 815 A.2d 962, 963 (N.J. 2003); see also Abbott Point of Care

Inc. v. Epocal, Inc., 666 F.3d 1299, 1302 (Fed. Cir. 2012) (applying New Jersey law and

explaining that “it is well-settled ... that when the terms of a contract are clear, it is the function

of a court to enforce it as written and not to make a better contract for either of the parties.”)




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(internal citations and quotation marks omitted); City of Orange Twp. v. Empire Mortg. Servs.,

Inc., 341 N.J. Super. 216, 224 (N.J. Super. Ct. App. Div. 2001) (“The court has no right to

rewrite the contract merely because one might conclude that it might well have been functionally

desirable to draft it differently.”) (internal quotations omitted).     Where “the language of a

contract is plain and capable of legal construction, the language alone must determine the

agreement’s force and effect.” Manahawkin Convalescent v. O'Neill, 217 N.J. 99, 118 (2014)

(internal quotations omitted).

       Additionally, Janssen and J&J’s so-called “disclaimer” agreement cannot fix the standing

problem. Under Federal Circuit law, which governs standing in patent cases, it is a “settled

principle” that “[a]n action for infringement must join as plaintiffs all co-owners.” Ethicon, Inc.

v. U.S. Surgical Corp., 135 F.3d 1456, 1467 (Fed. Cir. 1998), cert. denied, 525 U.S. 923 (1998).

The Federal Circuit has recognized only two exceptions to this rule, neither of which apply here.

See Dkt. 14 at 25–26; STC.UNM v. Intel Corp., 754 F.3d 940, 946 (Fed. Cir. 2014), cert. denied,

135 S. Ct. 1700 (2015). First, Ethicon recognizes that a missing co-owner can be compelled to

join a suit against his will if the co-owner “waive[d] his right to refuse to join suit.” Ethicon, 135

F.3d at 1468 n.9. That is, all co-owners have a right to refuse to join a lawsuit, and they may

exercise that right, in which case they cannot be joined, or they may waive that right, in which

case they can be joined in order for there to be standing. Id.; see also STC.UNM, 754 F.3d at

946. Janssen does not argue that J&J and its subsidiaries have waived their right to refuse to join

the suit. Second, Ethicon recognizes that “when any patent owner has granted an exclusive

license, he stands in a relationship of trust to his licensee and must permit the licensee to sue in

his name”—another exception that Janssen does not even contend applies here (nor could it,

given the lack of any licenses related to the ’083 patent). Id. Rather than argue either exception




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applies, Janssen’s most recent brief ignores Ethicon, despite it being the key authority on joinder

of co-owners. Janssen attempts to lead the Court astray, pointing to IpVenture,2 which found that

a third party was not a co-owner, and thus did not reach the question of joinder or the rule of

Ethicon, and Enovsys,3 which gave res judicata effect to a state court divorce decree, likewise

concluding that there was no co-ownership and not thus addressing the question of joinder.

Worse, Janssen argues that “a half-dozen cases hold that a purported co-owner’s disclaimer of

ownership is sufficient to cure a prudential standing problem” (Dkt. 26 at 28), but those cases, as

Defendants will explain in their reply brief, likewise did not reach the question of whether a co-

owner must be joined, are not good law in view of recent Federal Circuit precedent, or both.

         Finally, even if agreeing not to assert patent ownership rights was a recognized exception

to Ethicon—and it is not—Janssen has not shown that J&J has acted on behalf of all its

subsidiaries, much less companies who were J&J subsidiaries when legal title to the invention

was assigned, but were not part of the J&J family as of the time of the so-called “disclaimer”

agreement. According to public records, there are at least five such companies. It is Janssen’s

burden to prove that there are no unjoined co-owners, which it has failed to do. Sicom Sys., Ltd.

v. Agilent Techs., Inc., 427 F.3d 971, 976 (Fed. Cir. 2005) (“The party bringing the action bears

the burden of establishing that it has standing.”); see also Abbott, 666 F.3d at 1302 (“[The

plaintiff] has the burden to show necessary ownership rights to support standing to sue.”).

         The requirements for filing a patent case are few. A plaintiff must have a basis to believe

its patent is infringed and valid, and must have standing to sue. It is entirely reasonable for the

Court and Defendants to hold Janssen to these requirements. Despite ample time and numerous

half-attempts to fix its standing problems, Janssen has yet to meet the basic requirements to bring


2
    IpVenture, Inc. v. Prostar Computer, Inc., 503 F.3d 1324 (Fed. Cir. 2007).
3
    Enovsys LLC v. Nextel Commc’ns, Inc., 614 F.3d 1333 (Fed. Cir. 2010).


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a patent lawsuit. Indeed, it appears to Defendants that it cannot do so. Unless and until Janssen

has proven that it meets the requirements for standing, the parties and the Court should not

expend substantial resources on wide-ranging, burdensome, and expensive discovery, or on

resolving discovery disputes (discussed in more detail below).

       Second, the down-side of staying discovery is very minor. As of the submission of this

report, the motion to dismiss is scheduled to be resolved in just over seven weeks. This pales in

comparison to the delay Janssen has created in this case. After submission of six briefs on

standing issues in January and February, Janssen requested that the parties start the process over

with a motion to dismiss. No. 15-10698 Dkt. 487 at 1. This required setting a schedule that

spanned five weeks. See No. 15-10698 Dkt. 499 at 3. At that time, Janssen said extrinsic

evidence was unnecessary,4 and knew that adding such evidence would require additional time

for Defendants to seek and take discovery. Id. at 3–4; 2/8/17 Lobby Conf. Tr. at 5–7. But during

briefing, Janssen nonetheless reversed course and injected volumes of never-before-seen

documents it selected and declarations from as yet unheard-of witnesses, then refused to allow

defendants fair discovery into the new “evidence.” This resulted in a two-and-a-half month

delay, first because the Court ordered Janssen to provide document discovery and depositions,

and then because Defendants were forced to file a motion regarding Janssen’s improper

assertions of privilege (issues on which the Court ruled almost entirely in Defendants’ favor, or

on which Janssen ultimately capitulated). No. 15-10698 Dkts. 542, 564, 568.

       Then Janssen pushed the restart button yet again, capitulating to Defendants’ motion to

dismiss and dropping both its complaints—more than two years into the litigation—in view of

the serious standing problems it faced. By all indications, Janssen knew about these problems


4
 E.g., No. 15-10698 Dkt. 445 at 3 (referring to the “plain and obvious meaning of the
Agreements”), 8 n.4 (arguing that the agreements are not ambiguous).


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since 2015 when it executed two rounds of so-called “confirmatory assignments.” See Dkt. 14 at

21. Janssen filed this brand new 2017 action, necessitating yet another round of briefing, with a

schedule spanning fourteen more weeks. Dkt. 1. And while Defendants proposed that the

renewed motion to dismiss be heard in early September, Janssen requested a hearing in October.

Ex. 1 (6/15/17 counsel corresp.). In short, Janssen cannot credibly claim prejudice from waiting

a few more weeks, until after the Court decides Defendants’ motion (and if the Court denies the

motion), before discovery begins.

       Third, by contrast, the potential benefits of staying discovery are high in the event the

Court grants Defendants’ motion. Janssen’s initial discovery requests are fulsome: 47 requests

for production (41 plus multiple prior requests incorporated by reference), and 8 interrogatories.

More important than the number of discovery requests is their subject matter and content.

Janssen’s discovery requests seek, by way of example:

       •
                                                                                            (Ex. 2,
           Interrog. Nos. 1, 3; Ex. 3, RFP Nos. 5, 15, 17, 28, 29, 32, 33);
       •
                                                                                        (Ex. 2,
           Interrog. Nos. 2, 4 ; Ex. 3, RFP Nos. 15, 17, 28, 33); and
       •                                                                        (Ex. 2, Interrog.
           No. 5; Ex. 3, RFP Nos. 4, 6, 9, 11, 14, 16).

Janssen is not, under any interpretation of the law, entitled to damages for worldwide sales of

infliximab, nor damages for sales of infliximab that were made using a process that involved cell

culture media powder produced in Singapore.5 Although Defendants contend there has never

been any infringement, it is uncontested that the patent laws do not provide “compensation for a

defendant’s foreign exploitation of a patented invention, which is not infringement at all.” Power


5
 As the Court is aware, Defendants maintain that Janssen is not entitled to lost profits at all as a
matter of law. See No. 15-10698 Dkts. 414, 441.


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Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1371 (Fed. Cir. 2013);

see also Brown v. Duchesne, 60 U.S. 183, 195–196 (1856) (“[T]he use of [a patented invention]

outside of the jurisdiction of the United States is not an infringement of [a patent owner’s] rights,

and he has no claim to any compensation for the profit or advantage the party may derive from

it.”) (emphasis added); WesternGeco LLC v. ION Geophysical Corp., 791 F.3d 1340, 1350 (Fed.

Cir. 2015), vacated sub. nom. on other grounds, 136 S. Ct. 2486 (2016) (“It is clear that under

§ 271(a) the export of a finished product cannot create liability for extraterritorial use of that

product.”). Indeed, Janssen previously represented that it was restricting its lost profits request

to “Defendants’ sales [of infliximab] in the United States that are the foreseeable result of

Defendants’ acts of infringement in the United States.” E.g., No. 15-10698 Dkt. 445 at 11; see

also id. at 12–14; 2/23/17 Hr’g Tr. at 120:10–13 (“[W]e’re not seeking damages for sales of

Inflectra around the world, either reasonable royalty or lost profits.”); id. at 125.

       Yet Janssen reversed course entirely for its third complaint. Now, Janssen claims that it




               Ex. 4 at 7–8 (Janssen Interrogatory Responses) (emphasis added).




                                                 Id. at 8. The examples above show that Janssen’s

July 11 discovery requests and subsequent discovery responses represent a drastic expansion of

what Janssen itself has previously acknowledged are the boundaries of its claim for damages.




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Should discovery move forward, it is likely that additional resources will be expended by the

Court and the parties resolving the propriety and scope of Janssen’s discovery requests and

improper damages theories.

       Additionally, whether Janssen’s requests are narrowed or not, collecting the documents

and information Janssen seeks will be time-consuming and costly.6 The American Intellectual

Property Law Association (AIPLA), which aggregates statistics on costs associated with patent

litigation, reports that for a patent infringement suit where more than $25 million is at risk (far,

far less than what Janssen has indicated it will request in this case), costs through the end of

discovery average about $4 million. Ex. 5, AIPLA Report of the Economic Survey 2015 at 40. A

RAND Institute for Civil Justice survey of 45 cases found document production costs in

intellectual property cases ranged up to almost $8 million. Ex. 6, Pace, N. and Zakaras, L.,

Where the Money Goes: Understanding Litigant Expenditures for Producing Electronic

Discovery, RAND (2012) at 17–18. Janssen’s document requests—which are only its first round

of requests—are, as explained above, numerous and wide-reaching.7 Given the amount of

damages Janssen seeks, that a substantial portion of the documents will come from South Korea

using foreign e-discovery vendors and likely requiring translation, and the existing cost


6
  While much technical discovery was completed in the prior phase, there has been essentially no
damages discovery completed to date.
7
  See, e.g., Ex. 3, Janssen RFP Nos. 2 (all documents concerning FDA’s postponement of the
Arthritis Advisory




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experience from the liability phase of the case, there is no doubt this will be an expensive

endeavor. Third party discovery will be implicated as well, for example, on the issue of the

availability of non-infringing alternatives, which will impose additional costs and burdens not

only on the parties, but also potentially on other courts in other judicial districts. Defendants

understand that Janssen, for example, has already approached GE HyClone to make further

requests for discovery. The last time Janssen pursued discovery from GE HyClone, it involved

motions to quash and compel that involved six briefs and a 13-page decision from a different

federal district court. See generally, docket for No. 1:16-mc-00027-TC (D. Utah).

       Finally, much of the information Janssen seeks is of the utmost confidentiality, such as

information about production costs, profits, regulatory activity, and other competitively sensitive

information, which Defendants ordinarily would not share outside their respective companies.

Defendants should not be required to turn over yet more of their most sensitive information as a

part of this litigation unless and until Janssen has met its burden to show that it at least has the

right to proceed.

               2.      Plaintiff’s Position on Stay of Discovery

       Discovery pertaining to damages should not be stayed, so that a trial in this case on both

liability and damages can proceed without undue delay. The infringement claim in this case has

been pending since March 2015 and the liability case has been trial ready since February 2017.

Early in the predecessor case, Defendants successfully opposed Janssen’s motion to stay

proceedings on the ’471 patent, which was then in reexamination, on the ground that it was of

immense importance to Defendants to obtain patent certainty prior to their launch of their

biosimilar product. In opposing that motion to stay, Defendants argued that it was the public

policy of the BPCIA, the statute governing the approval of the biosimilar product at issue here, to

resolve patent disputes “expeditiously.” Dkt. 41 at 8. The Court agreed and denied the motion


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to stay.   Dkt. 157 at 1.     Although Defendants are apparently no longer interested in an

expeditious resolution of Janssen’s patent infringement claim, the public policy of the BPCIA –

as well as the policy of the Federal Rules of Civil Procedure to ensure a “just, speedy, and

inexpensive determination of every action and proceeding,” Fed. R. Civ. P. 1 – has not changed.

       There is no good reason to stay discovery here. Defendants argue that their pending

motion to dismiss for lack of subject matter jurisdiction warrants a stay. Of course, the fact that

a motion to dismiss has been filed is not in itself a basis to stay discovery. See, e.g., Mun.

Review Comm. Inc. v. USA Energy Grp. LLC, No. 1:14-cv-00180-DBH, 2015 U.S. Dist. LEXIS

6491, at *2 (D. Me. Jan. 21, 2015) (“As a general rule, the fact that a party intends to file, or has

filed a motion to dismiss does not warrant the entry of a stay order.”). The circumstances here

confirm that discovery should not be stayed. First and foremost, as the Court has repeatedly

noted and Defendants have repeatedly acknowledged, it is highly unlikely that Defendants will

ultimately manage to avoid discovery on damages, regardless of the outcome of their pending

motion to dismiss. See, e.g., 2/8/17 Lobby Conf. Tr. 7 (counsel for Defendants stating that



                         ); 6/1/17 Teleconf. Tr. 16 (the Court recognizing that, one way or the

other, “at some point we’re probably going to litigate this case”); 6/21/17 Teleconf. Tr. 21

(Defendants’ counsel acknowledging that damages discovery may “ha[ve] to be done at some

point” and, if so, “we can do it at that point”). This is because a dismissal on standing grounds

would be without prejudice to refiling the case with any purported standing defects resolved.

Thus, the discovery to be taken now cannot be avoided; it can only be delayed. Delaying

discovery that will take place anyway is not a good reason to grant a stay. E.g., Mun. Review

Comm., 2015 U.S. Dist. LEXIS 6491, at *2 (denying motion to stay because “even if Defendant




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prevails on its motion, Defendant undoubtedly will have to respond to most of the discovery

requests that it seeks to avoid”).

       Furthermore, the discovery that will take place while the motion to dismiss is pending

will not be unduly burdensome. Based on the Court’s prior practices, it is likely that the motion

to dismiss will be decided by the end of the scheduled hearing of October 13, 2017, or soon

thereafter. Under Janssen’s proposed schedule (set forth below), the only discovery proceedings

that would take place before that motion is decided would be the production of documents,

which would not need to be completed until October 31. Because the process of document

collection and review is time-consuming, allowing it to proceed without delay would

substantially expedite the ultimate trial date in this case.      Relatively speaking, however,

document production is not burdensome to the parties in a case of this nature, in that it typically

does not require travel by counsel, full-day commitments by clients, or in-depth substantive

analysis of the documents at issue, as depositions do.

       Any complaint by Defendants regarding the cost of document production, moreover,

would ring hollow “considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). This case involves

highly important issues concerning intellectual property protections for biotechnological

innovation, Janssen’s damages claim is likely to approach $1 billion, and the parent companies

of Janssen and Defendant Hospira are among the largest in the world, all factors that make the

out-of-pocket costs of litigation less salient here than in typical cases. Indeed, Defendants

themselves appear to recognize this point, having displayed no sign of cost-consciousness so far




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in this case. They have retained a large litigation team with more than ample staffing at hearings

and depositions, and they have repeatedly demanded maximal discovery and briefing whenever

they believe such expensive proceedings will provide an incremental benefit to their position in

this litigation.

        A continued stay on discovery would serve only to needlessly delay ultimate resolution

of this case. Janssen therefore respectfully requests that the Court lift the stay of discovery.

        B.         The Parties’ Proposed Pretrial Schedules and Trial Dates

                   1.    Defendants’ Proposed Pretrial Schedule(s) and Trial Dates

        Defendants present the below proposed alternate schedules depending on whether the

Court orders discovery to proceed during the pendency of Defendants’ motion to dismiss (and

assuming solely for the purpose of this submission that the Court denies the motion to dismiss).

Defendants believe a single non-phased trial will be most efficient, and trial scheduled in July or

August 2018 is necessary to allow for discovery (fact and expert), briefing and argument related

to dispositive motions, Daubert motions, and any motions in limine, and other pre-trial

submissions such as trial brief, jury instructions, exhibit lists, verdict forms, etc.

                    a.    Defendants’ schedule provides time for issues to be properly presented to
                          the Court, while Janssen seeks an unduly compressed schedule.

        Plaintiff’s proposal unworkably compresses discovery. It allows only three weeks to

depose experts on issues related to damages. In the prior phase of the case, the parties needed

seven weeks to conduct expert depositions. No. 15-10698 Dkt. 124. Given the size of Janssen’s

damages request and the issues surrounding lost profits and reasonable royalties, damages

discovery will be expensive and likely involve a similar number of experts as the liability phase.

Janssen also allows a mere eight weeks between the close of expert discovery and trial, to

conduct all pretrial matters (including Daubert motions), and provides no time whatsoever for



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briefing and hearing summary judgment motions. In the prior phase, the Court and parties spent

over three months on such issues, extending the schedule multiple times, and were not yet

complete. As the Court knows, one summary judgment motion is pending already (which would

remove Hospira from this case),8 and two expert-related motions likewise have not yet been

resolved.   Further, Defendants anticipate additional summary judgment motions on key

damages-related issues, such as whether lost profits are unavailable as a matter of law (for

example, due to the presence of non-infringing alternatives) and whether Janssen is limited to a

reasonable royalty under the BPCIA. Defendants should not be deprived of an opportunity to

narrow the case as contemplated by the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 56.

                b.     A single non-phased trial will provide efficiencies and allow the jury to
                       evaluate the case a whole.

       Regarding trial, conducting a single trial for both liability and damages together will be

more efficient than a phased trial due to the substantial overlap of issues. In addition to

overlapping factual testimony, such as on issues related to intent (relevant to both inducement

and willful infringement) and the development of both accused media and the media claimed in

the ’083 patent (relevant to damages, invalidity, and infringement), much of the expert testimony

will be relevant to both liability and damages. For instance, the existence of non-infringing

alternatives, a key issue related to Janssen’s claim for lost profits, overlaps with the issue of

invalidity of the ’083 patent. See No. 15-10698 Dkts. 441 at 13–17 (identifying prior art media

as non-infringing alternatives), 414 at 18–19.

        There is also a possibility for overlap between Janssen’s agency or “joint enterprise”

theory of infringement and damages issues, for example, with respect to the nature of the

relationship between Celltrion and Hospira and how Inflectra® was developed and is

8
  If Defendants’ motion to dismiss is not granted, they may seek to have the outstanding
summary judgment motion regarding Hospira resolved earlier in the case.


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manufactured, distributed and sold. There is likewise overlap between secondary considerations

of obviousness (e.g., the invention’s commercial success (or lack thereof), the existence of an

alleged long felt but unresolved need, alleged praise by others, etc.) and the reasonable royalty

factors under a Georgia-Pacific analysis. See Georgia-Pac. Corp. v. U.S. Plywood Corp., 318 F.

Supp. 1116, 1120 (S.D.N.Y. 1970) (e.g., commercial success, popularity, advantages over old

modes or devices). Janssen’s willful infringement allegations may overlap with Janssen’s claim

that the Defendants induced GE HyClone to infringe because they allegedly “knew about the 083

patent and knew or were willfully blind to the fact it is infringed.” No. 15-10698 Dkt. 434 at 9.

       In addition to the substantial overlap in issues, there are logistical concerns that favor a

single trial. For instance, a single trial will save substantial time by not repeating openings and

closings and not recalling witnesses who previously testified. This is particularly important for

several witnesses Defendants expect to call regarding liability and damages related issues, who

have to travel from South Korea, and third-party witness or witnesses from GE HyClone. A

single trial also allows the jury to understand the entire context and picture of the case, which

will allow the parties to better present their narratives. Indeed, just earlier this year Janssen

argued that “[t]he jury should not consider this case in a vacuum. The witnesses at trial need to

discuss Remicade to provide the jury with a basic understanding of the factual context leading to

this litigation.” No. 15-10698 Dkt. 419 at 6. Despite the fact that the only patent at issue in the

case relates to a generic nutrient powder, Janssen’s entire damages theory, based on what

Defendants have seen thus far, is based not on the nutrient powder,

                  , but on sales of Remicade®, a highly complex drug product which contains no

nutrient powder and which Janssen sells to patients at a cost of up to $20,000 per year. See

Mem. and Order, No. 15-10698 Dkt. 249 at 3.           The jury should be given the benefit of




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understanding the relevance of Remicade® to Janssen, the irrelevance of the ’083 patent to

Janssen, and the dollars Janssen claims are at stake, at one time so that the jury does not consider

segments of the case in a vacuum.

       Information related to how much money Janssen makes on Remicade® (and how much it

claims to have lost due to the ’083 patent) goes to at least the credibility of Janssen’s stretched,

twelve-way doctrine of equivalents theory and its position that “any” concentration of

ingredients in a cell culture media is one that Janssen will consider to infringe. The damages

demand gives context to Janssen’s motivation for leveraging an                            cell food

powder patent—which, as Defendants showed in expert reports and pre-trial briefing is almost

identical to precursor cell food powders known for years prior in the field—in an effort to protect

its “golden goose” product Remicade®. Presentation of all these issues at once will be most fair

and most efficient for the Court, the parties, third-party witnesses, and the jury.

                c.      Defendants’ proposed schedules.

       Thus Defendants propose and respectfully request a schedule for the remainder of the

case as follows, with an option if discovery is stayed until Janssen has met its burden of

establishing standing (consistent with Defendants’ position, as discussed above) and one if

discovery is not stayed:

                                     Discovery During MTD             No Discovery During MTD
            Event
                                          Proceedings                        Proceedings

Report on discovery positions                              August 21, 2017
and settlement due

Defendants file reply re MTD                               August 25, 2017

Janssen files sur-reply re                                September 8, 2017
MTD

Hearing on MTD                                             October 12, 2017



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                                    Discovery During MTD         No Discovery During MTD
            Event
                                         Proceedings                    Proceedings

                                                                 To begin after the Court rules
Fact discovery on issues                                         on MTD
                                 September 5, 2017
related to damages begins
                                                                 [Estimated: October 16, 2017]

                                 December 15, 2017
Fact discovery on issues
                                 [about 3.5 months after fact    January 26, 2018
related to damages ends
                                 discovery begins]

                                 January 12, 2018
Janssen’s opening expert
                                 [4 weeks after fact discovery   February 23, 2018
report(s)
                                 ends]

                                 February 16, 2018
Defendants’ rebuttal expert
                                 [5 weeks after opening expert   March 30, 2018
report(s)
                                 reports]

                                 March 16, 2018
Expert discovery on issues
                                 [4 weeks after responsive       April 27, 2018
related to damages ends
                                 expert reports]

                                 April 6, 2018
Deadline for dispositive
                                 [3 weeks after expert           May 18, 2018
motions and Daubert motions
                                 discovery ends]

Deadline for responses to        April 27, 2018
dispositive motions and          [3 weeks after opening          June 8, 2018
Daubert motions                  motions]

Deadline for replies to          May 11, 2018
responses to dispositive                                         June 22, 2018
motions and Daubert motions      [2 weeks after responses]

Hearings on dispositive
                                 Week of May 28, 2018            Week of July 16, 2018
motions and Daubert motions

Parties exchange pretrial
                                 June 8, 2018
disclosures pursuant to Fed.
R. Civ. P. 26(a)(3)              [4 weeks after dispositive      July 20, 2018
                                 motion and Daubert replies]
Deadline for motions in limine




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                                       Discovery During MTD           No Discovery During MTD
            Event
                                            Proceedings                      Proceedings

                                    June 22, 2018
Deadline for responses to
                                    [2 weeks after motions in        August 3, 2018
motions in limine
                                    limine]

Due date for pretrial               July 6, 2018
memorandum and parties’             [2 weeks after responses to      August 17, 2018
respective trial briefs             motions in limine]

                                    Week of September 3 or 10,       Week of September 3 or 10,
Pretrial conference
                                    2018                             2018

                                    Week of September 10 or 17,      Week of September 10 or 17,
Jury selection and trial begins
                                    2018                             2018

       The above proposed pretrial conference and trial dates take into account Defendants’ lead

trial counsel’s current conflicts with respect to other scheduled trials. If the Court is available to

hold trial in September 2018, the parties may wish to discuss adjustment of the interim dates

(e.g., expert discovery, motions, etc.).

               1.      Plaintiff’s Proposed Pretrial Schedule(s) and Trial Dates

       Janssen proposes the following pretrial schedule and trial dates.

                                  Event                                   Proposed Date

    Completion of damages document production and                  October 31, 2017
    interrogatory responses
    Close of damages fact discovery                                December 10, 2017
    Janssen’s opening expert reports on damages                    December 22, 2017
    Defendants’ responsive expert reports on damages               January 29, 2018
    Janssen’s reply expert reports on damages                      February 19, 2018
    Close of expert discovery                                      March 12, 2018
    Pretrial disclosures (Fed. R. Civ. P. 26(a)(3) and LR          March 19, 2018
    16.5(c))
    Pretrial memoranda (LR 16.5(d))                                March 26, 2018



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    Motions in limine, including Daubert motions                  April 20, 2018
    (close of briefing)
    Trial briefs                                                  April 27, 2018
    Final pretrial conference                                     Week of April 30, 2018
    Trial to commence                                             Week of May 7, 2018



       Janssen’s proposed schedule provides approximately the same amount of time to

complete damages-related fact discovery as does Defendants’ proposed schedule; the only

difference as to fact discovery is that Defendants assume that discovery will be stayed until

October 16. Janssen’s schedule provides more than ten weeks from today (and over three and a

half months from the service of document requests) to complete production of damages-related

documents. Given that the parties have already responded to each other’s document requests –

which required investigating what documents they have in their possession, what it would entail

to review and produce them, and whether they consider the responses objectionable in whole or

in part – ten additional weeks is more than sufficient time to complete production. This is

particularly true given that discovery on liability issues is closed, so the current discovery period

is limited to issues of damages.9

       The schedule also provides nearly six additional weeks after the completion of document

production to conduct depositions of damages fact witnesses. Given the narrow focus of the

discovery, six weeks should be more than sufficient time to complete these depositions.

       Janssen has revised its proposal related to expert discovery in response to feedback

provided by Defendants during the parties’ meet and confer. Janssen initially proposed two

rounds of simultaneous expert reports, with each side first serving opening reports and then



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 Indeed, Janssen’s damages-related discovery requests (attached hereto as Exhibits 2 and 3) are
substantially less burdensome than Defendants’ (attached hereto as Exhibit 7 and 8).


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serving responsive reports. Defendants, however, took the position that expert reports should be

exchanged sequentially in light of the burden of proof, with Janssen serving its opening reports

followed by Defendants’ responsive reports. Janssen believes this approach is unnecessary: in

addition to responding to the opinions of Janssen’s experts, Defendants will likely provide their

own proposed damages calculation that will be based on their own expert’s analysis, will not be

responsive to the opinions of Janssen’s expert in any real sense, and could be presented in an

opening report.     Nevertheless, by way of compromise Janssen has agreed to Defendants’

proposal to have damages-related expert reports be sequential.

        If expert reports are going to be sequential, however, it is necessary for Janssen to have

the opportunity to reply to Defendants’ responsive reports, as is reflected in Janssen’s proposed

schedule. This is true because of the way the burden of proof to establish damages is allocated,

and it is particularly important because of the nature of damages issues that the parties have

identified in prior briefing.

        When basing the alleged lost profits on lost sales, the patent owner has an initial burden
        to show a reasonable probability that he would have made the asserted sales “but for” the
        infringement. Once the patent owner establishes a reasonable probability of “but for”
        causation, the burden then shifts to the accused infringer to show that the patent owner’s
        “but for” causation claim is unreasonable for some or all of the lost sales.

Grain Processing Corp. v. American Maize-Prods., 185 F.3d 1341, 1349 (Fed. Cir. 1999)

(alteration, citations, and internal quotation marks omitted). Thus, in its case-in-chief, Janssen

“need only show” a reasonable probability that “but for” Defendants’ infringement of the ’083

patent, it would have made the lost profit; it “need not negate every possibility” that it would

have made the profit “absent the infringement.” See Rite-Hite Corp. v. Kelley Co., Inc., 56 F.3d

1538, 1545 (Fed. Cir. 1995) (en banc). The burden then shifts to the Defendants to show the

unreasonableness of Janssen’s causation claim, for example by establishing the availability of an

acceptable non-infringing alternative to the infringing cell culture media. See Grain Processing,


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185 F.3d at 1349 (describing the district court as accepting plaintiff’s initial premise on

causation, but defendant defeating lost profits by proving that a non-infringing alternative was

available and acceptable).

       In prior briefing, Defendants have relied heavily on the alleged existence of acceptable

non-infringing alternatives, contending that they foreclose a lost profits award. In addition to

being Defendants’ burden under Grain Processing’s burden-shifting framework, any alleged

acceptable non-infringing alternatives must, as a practical matter, be asserted in the first instance

by Defendants, since Janssen denies that any such alternatives exist that would foreclose

damages. If Defendants are not going to put in opening expert reports, then in the absence of

reply reports Janssen’s experts will never have the opportunity to address any allegedly

acceptable non-infringing alternative defense that Defendants come forward with. Reply reports

are therefore necessary.

       Janssen’s schedule provides for briefing on all damages-related motions in limine

(including Daubert motions) to be completed several weeks in advance of trial. Defendants’

proposed schedule, in contrast, provides five months between the close of discovery for

“dispositive motions” and Daubert motions. Janssen does not believe that further dispositive

motions (i.e., motions on liability issues) are permitted under the Court’s scheduling orders in the

predecessor cases, which were incorporated into the record of this case by Court order. Case No.

15-cv-10698, Dkt. No. 584.10 The pending motions in limine and Daubert motions on liability




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   Indeed, in the course of negotiating the stipulation of dismissal of the prior cases, Defendants
suggested that scheduling orders from the prior cases should not be made part of the record in
this case. Janssen disagreed, on the express grounds that it considered all proceedings on
liability issues to be closed (as they were in the prior cases) and did not believe that the filing of
the new case should reopen them. The parties ultimately agreed to a stipulation that did not
exclude scheduling orders from the proceedings that were made part of the record in this case.

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issues, as well as the pending fully-briefed summary judgment motion pertaining to Hospira, can

be decided at any convenient time between now and trial. The only additional motions to be

filed would pertain to damages. Because these motions would only affect damages and cannot

prevent the liability trial from going forward, it is not necessary or appropriate to build additional

months into the schedule in order for them to be decided well in advance of trial.

       Janssen respectfully requests that the Court adopt its proposed schedule.

       C.      The Status of Resumed Settlement Discussions

       The parties have filed, via hand delivery contemporaneous with this filing, a separate

letter to the Court from Defendants’ counsel reporting the status of the parties’ settlement

discussions.




The Court so-ordered this stipulation. Case No. 15-cv-10698, Dkt. No. 584. Accordingly,
proceedings on liability issues are closed.


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Dated: August 21, 2017

/s/ Andrea L. Martin                             /s/ Alison C. Casey

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed through the electronic
filing system and served electronically to the registered participants as identified on the Notice of
Electronic Filing.
                                                        /s/_Andrea L. Martin____________




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